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 1                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 2                                      AT SEATTLE
 3
   UNITED STATES OF AMERICA, )
 4                               )
                Plaintiff,       )                 CASE NO. CR05-152 RSL
 5                               )
           v.                    )
 6                               )
   DUNG VIET DINH,               )                 DETENTION ORDER
 7                               )
                Defendant.       )
 8                               )
   _____________________________ )
 9
     Offenses charged:
10
               Counts 1-44: Conspiracy to Commit Bank Fraud, in violation of Title 18, U.S.C.,
11
                             Sections 1344 and 2.
12
     Date of Detention Hearing: May 20, 2005.
13
               The Court, having conducted an uncontested detention hearing pursuant to Title
14
     18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
15
     detention hereafter set forth, finds that no condition or combination of conditions which the
16
     defendant can meet will reasonably assure the appearance of the defendant as required and
17
     the safety of any other person and the community. The Government was represented by
18
     Lisca Borichewski for Patricia Lally. The defendant was represented by Terrence Kellogg.
19
               The Government moved for detention in this matter. The defense stipulated to
20
     detention, reserving the right for reconsideration should circumstances change.
21
22
          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
               (1) The defendant is viewed as a risk of nonappearance as his background and
24
                    ties to this district are unknown; he is a citizen of Vietnam; there is an
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                    active warrant for his arrest; and he is on a Writ from Sierra Conservation
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 1                Center in Jamestown, California because he is still serving a sentence
 2                there.
 3           (2) Due to the nature and seriousness of the crime alleged, in combination
 4                with the defendant’s criminal history and unknown background, release of
 5                the defendant would pose a risk to the community.
 6           (3) The defendant stipulated to detention.
 7 Thus, there is no condition or combination of conditions that would reasonably assure
 8 future court appearances.
 9
10 It is therefore ORDERED:
11           (l) Defendant shall be detained pending trial and committed to the custody of
12                the Attorney General for confinement in a correctional facility separate, to
13                the extent practicable, from persons awaiting or serving sentences, or being
14                held in custody pending appeal;
15           (2) Defendant shall be afforded reasonable opportunity for private
16                consultation with counsel;
17           (3) On order of a court of the United States or on request of an attorney for the
18                Government, the person in charge of the correctional facility in which
19                Defendant is confined shall deliver the defendant to a United States
20                Marshal for the purpose of an appearance in connection with a court
21                proceeding; and
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23 //
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 1         (4) The clerk shall direct copies of this order to counsel for the United States,
 2             to counsel for the defendant, to the United States Marshal, and to the
 3             United States Pretrial Services Officer.
 4         DATED this 23rd day of May, 2005.


                                                            A
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                                                            MONICA J. BENTON
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                                                            United States Magistrate Judge
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